                   Case 23-10597-BLS             Doc 759       Filed 12/12/23         Page 1 of 7




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

    In re:                                                  Chapter 11

    Desolation Holdings LLC, et al., 1                      Case No. 23-10597 (BLS)

             Wind Down Entity.                              (Jointly Administered)



                             PLAN ADMINISTRATOR’S WITNESS AND
                          EXHIBIT LIST FOR DECEMBER 13, 2023, HEARING

             David Maria, as plan administrator (the “Plan Administrator”) in the chapter 11 cases of

the above-captioned debtors and each of their debtor affiliates (collectively, the “Debtors” or the

“Wind Down Entity”), hereby discloses that it intends to introduce and/or reserve the right to call

the following witnesses, and intends to and/or reserves the right to introduce exhibits at the hearing

scheduled for December 13, 2023, at 10:00 a.m. (Eastern Time) (the “Hearing”) concerning the (i)

Debtors First Omnibus (Non-Substantive) Objection to Certain Exact Duplicate Claims (D.I. 542);

(ii) Debtors’ Fourth Omnibus (Non-Substantive) Objection to Certain Incorrect Debtor Claims

(D.I. 548); (iii) Debtors’ Fifth Omnibus (Substantive) Objection to Certain Misclassified Claims

(D.I. 550); (iv) Debtors’ Objection to Claims C598-1002, C598-1004, C598-1107, C598-10646,

C599-45, C599-46, C600-105, C600-106, and C600-10085 filed by Shahriar Arabpour Pursuant

to Section 502 of the Bankruptcy Code and Bankruptcy Rule 3007 (D.I. 554); (v) Debtors’

Objection to Claims C598-1001, C598-1006, C598-1110, C598-10651, C599-47, C599-48, C599-

49, C599-56, C600-107, C600-109, and C600-120 filed by Amirali Momenzadeh Pursuant to

Section 502 of the Bankruptcy Code and Bankruptcy Rule 3007 (D.I. 556); and (vi) Debtors’



1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor entity’s tax identification
      number, are: Desolation Holdings LLC (0439); Bittrex, Inc. (0908); Bittrex Malta Holdings Ltd. (2227); and
      Bittrex Malta Ltd. (1764). The mailing and service address of the Debtors is 701 5th Avenue, Suite 4200, Seattle,
      WA 98104.



11606-00001C/14567318.2
                   Case 23-10597-BLS       Doc 759     Filed 12/12/23    Page 2 of 7




Objection to Claims C598-981, C598-982, C598-1005, C598-1102, C598-1104, C598-1200,

C599-43, C599-44, C599-55, C599-10030, C600-102, C600-104, and C600-119 filed by Adel

Abbasi Pursuant to Section 502 of the Bankruptcy Code and Bankruptcy Rule 3007 (D.I. 558)

(collectively, the “Claim Objections”).

          The Plan Administrator reserves the right to introduce at the Hearing documents that are

part of the record of the above-captioned chapter 11 cases, including pleadings and other

documents filed on the docket, as well as to introduce any document, or to rebut the testimony of

witnesses or evidence presented by any other party, or for impeachment.

                                             WITNESSES

          The Plan Administrator intents to offer testimony from the following individuals:

          a.        Evan Hengel as the managing director at Berkeley Research Group, LLC (“BRG”)

and co-chief restructuring officer of the Debtors at the time the Claim Objections were filed.

          b.        David Maria as the Plan Administrator, and at the time the Claim Objections were

filed General Counsel and Chief Legal Officer for Bittrex, Inc.




11606-00001C/14567318.2
                   Case 23-10597-BLS       Doc 759    Filed 12/12/23    Page 3 of 7




                                           EXHIBIT LIST

     Exhibit No.                                  Document Description

             1            Declaration of Patricia B. Tomasco in Support of Plan Administrator’s
                          Omnibus Motion for a Protective Order Regarding Requests for the
                          Production of Documents from Certain Iranian Claimants to the Debtors
                          (D.I. 632)
             2            Objection filed by Shahriar Arabpour to Plan Administrator’s Omnibus
                          Motion for a Protective Order Regarding Requests for the Production of
                          Documents (not filed with the Court)
             3            Objection filed by Amir Ali Momenzadeh to Plan Administrator’s
                          Omnibus Motion for a Protective Order Regarding Requests for the
                          Production of Documents (not filed with the Court)
             4            Response by Amirali Momenzadeh to the Debtors’ Objection to the
                          Document Production Submission (not filed with the Court)
             5            Formal Response by Adel Abbasi to the Objection of the Document
                          Production Submitted by the Debtors (not filed with the Court)
             6            Declaration of Evan Hengel in Support of Debtors’ First Omnibus (Non-
                          Substantive) Objection to Certain Exact Duplicate Claims (D.I. 542)
             7            Declaration of Evan Hengel in Support of Debtors’ Fourth Omnibus
                          (Non-Substantive) Objection to Certain Incorrect Debtor Claims (D.I.
                          548)
             8            Letter Response from Michael Koch re Debtors’ Fourth Omnibus (Non-
                          Substantive) Objection to Certain Incorrect Debtor Claims (D.I. 660)
             9            Claim 597-53 filed by Michael Koch
            10            Letter Response from Steven B. Crouch re Debtors’ Fourth Omnibus
                          (Non-Substantive) Objection to Certain Incorrect Debtor Claims (D.I.
                          617)
            11            Claim C597-209 filed by Steven Brett Crouch
            12            Declaration of Evan Hengel in Support of Debtors’ Fifth Omnibus
                          (Substantive) Objection to Certain Misclassified Claims (D.I. 550)
            13            Letter Response from Anita Skillern re Debtors’ Fifth Omnibus
                          (Substantive) Objection to Certain Misclassified Claims (D.I. 621)
            14            Claim No. C597-10144 filed by Anita Skillern
            15            Letter Response from Dianeth Saavedra re Debtors’ Fifth Omnibus
                          (Substantive) Objection to Certain Misclassified Claims (D.I. 637)
            16            Claim No. C598-941 filed by Dianeth Saavedra
            17            Declaration of Evan Hengel in Support of Debtors’ Objection to Claims
                          C598-1002, C598-1004, C598-1107, C598-10646, C599-45, C599-46,
                          C600-105, C600-106, and C600-10085 filed by Shahriar Arabpour
                          Pursuant to Section 502 of the Bankruptcy Code and Bankruptcy Rule
                          3007 (D.I. 555)
            18            Response of Shahriar Arabpour to Debtors’ Objection to Claims C598-
                          1002, C598-1004, C598-1107, C598-10646, C599-45, C599-46, C600-
                          105, C600-106, and C600-10085 filed by Shahriar Arabpour Pursuant to


11606-00001C/14567318.2
                   Case 23-10597-BLS       Doc 759     Filed 12/12/23    Page 4 of 7




     Exhibit No.                                  Document Description

                          Section 502 of the Bankruptcy Code and Bankruptcy Rule 3007 (not filed
                          with the Court)
            19            Claim C598-1004 filed by Shahriar Arabpour
            20            Claim C598-1107 filed by Shahriar Arabpour
            21            Claim C600-105 filed by Shahriar Arabpour
            22            Claim C600-106 filed by Shahriar Arabpour
            23            Declaration of Evan Hengel in Support of Debtors’ Objection to Claims
                          C598-1001, C598-1006, C598-1110, C598-10651, C599-47, C599-48,
                          C599-49, C599-56, C600-107, C600-109, and C600-120 filed by Amirali
                          Momenzadeh Pursuant to Section 502 of the Bankruptcy Code and
                          Bankruptcy Rule 3007 (D.I. 557)
            24            Response of Amirali Momenzadeh to Debtors’ Objection to Claims C598-
                          1001, C598-1006, C598-1110, C598-10651, C599-47, C599-48, C599-49,
                          C599-56, C600-107, C600-109, and C600-120 filed by Amirali
                          Momenzadeh Pursuant to Section 502 of the Bankruptcy Code and
                          Bankruptcy Rule 3007 (not filed with the Court)
            25            Claim C598-1006 filed by Amirali Momenzadeh
            26            Claim C598-1110 filed by Amirali Momenzadeh
            27            Claim C599-47 filed by Amirali Momenzadeh
            28            Claim C600-107 filed by Amirali Momenzadeh
            29            Claim C600-109 filed by Amirali Momenzadeh
            30            Declaration of Evan Hengel in Support of Debtors’ Objection to Claims
                          C598-981, C598-982, C598-1005, C598-1102, C598-1104, C598-1200,
                          C599-43, C599-44, C599-55, C599-10030, C600-102, C600-104, and
                          C600-119 filed by Adel Abbasi Pursuant to Section 502 of the
                          Bankruptcy Code and Bankruptcy Rule 3007 (D.I. 559)
            31            Response of Adel Abbasi to Debtors’ Objection to Claims C598-981,
                          C598-982, C598-1005, C598-1102, C598-1104, C598-1200, C599-43,
                          C599-44, C599-55, C599-10030, C600-102, C600-104, and C600-119
                          filed by Adel Abbasi Pursuant to Section 502 of the Bankruptcy Code and
                          Bankruptcy Rule 3007 (not filed with the Court)
            32            Claim C598-1102 filed by Adel Abbasi
            33            Claim C598-1104 filed by Adel Abbasi
            34            Claim C600-102 filed by Adel Abbasi
            35            Claim C600-104 filed by Adel Abbasi
            36            Part 560-Iranian Transactions and Sanctions Regulations from the Office
                          of Foreign Assets Control, Treasury
            37            Section 560.215 Prohibitions on foreign entities owned or controlled by
                          U.S. Persons (31 CFR 560.215 [Dec. 7, 2023])
            38            Section 560.206 Prohibited trade-related transactions with Iran; goods,
                          technology, or services (31 CFR 560.206 [Dec. 7, 2023])
            39            Section 560.204 Prohibited exportation, reexportation, sale, or supply of
                          goods, technology, or services to Iran (31 CFR 560.204 [Dec. 7, 2023])



11606-00001C/14567318.2
                   Case 23-10597-BLS       Doc 759     Filed 12/12/23    Page 5 of 7




     Exhibit No.                                  Document Description

            40            Department of the Treasury Enforcement Release: October 11, 2022,
                          OFAC Settles with Bittrex, Inc. for $24,280,829.20 Related to Apparent
                          Violations of Multiple Sanctions Programs
            41            Emails regarding the Claim of Flavious Timothy Dinu (Fourth Omnibus
                          Objection)
            42            Claim C597-10232 filed by Flavious Timothy Dinu
            43            Emails regarding the Claim of Troy V. Matthews (Fifth Omnibus
                          Objection)
            44            Claim C598-1239 filed by Troy V. Matthews
            45            Email regarding Claim of Yuki Kato
            46            Claim C597-10136 filed by Yuki Kato
            47            Claim C597-10135 filed by Yuki Kato
            48            Email regarding the Claims of Richard Bell Rattey
            49            Claim C597-69 filed by Richard B. Rattey
            50            Claim C597-184 filed by Richard B. Rattey
            51            Download confirmation from Adel Abbasi
            52            Download confirmation from Shahriar Arabpour
            53            Download confirmation from Amir Ali Momenzadeh
            54            Email from Abbasi regarding discovery
            55            11.30.23 at 5.08 am pm Email from A. Abbasi to Debtors regarding
                          OFAC discovery
            56            12.1.23 at 7.21 pm Email from Debtors to A. Abbasi regarding discovery
                          requests
            57            12.4.23 at 2.36 pm Email from A. Abbasi to Debtors regarding claim
                          withdrawals
            58            12.4.23 at 2.37 pm Email from A. Abbasi to Debtors regarding
                          continuance
            59            12.6.23 at 1.30 pm Email from A. Abbasi to Debtors regarding claims
                          withdrawal
            60            12.6.23 at 2.54 pm - Email from S. Arabpour to Debtors' Counsel re
                          continuation of the hearing
            61            12.6.23 at 6.35 am - Email from A. Momenzadeh to Debtors' Counsel re
                          continuation of the hearing
            62            12.7.23 at 12.56 am - Email from Debtors to A. Abbasi re continuation of
                          the hearing
            63            12.7.23 at 12.56 am - Email from Debtors to A. Momenzadeh re
                          continuation of the hearing
            64            12.8.23 at 1.50 am - Email from Debtors to S. Arabpour re continuation of
                          the hearing
            65            12.8.23 at 2.42 pm - Email from S. Arabpour to Debtors' Counsel re
                          appearance at the hearing
            66            12.8.23 at 4.35 am - Email from A. Abbasi to Debtors' Counsel re
                          continuation of the hearing - Attachment A



11606-00001C/14567318.2
                   Case 23-10597-BLS      Doc 759     Filed 12/12/23   Page 6 of 7




     Exhibit No.                                 Document Description

            67            12.8.23 at 4.35 am - Email from A. Abbasi to Debtors' Counsel re
                          continuation of the hearing - Attachment B
            68            12.8.23 at 4.35 am - Email from A. Abbasi to Debtors' Counsel re
                          continuation of the hearing
            69            12.8.23 at 6.08 pm - Email from A. Momenzadeh to Debtors' Counsel re
                          appearance at the hearing
            70            2015 Terms of Service
            71            2018 Terms of Service of Bittrex International
            72            Abbasi ToS Acceptance BITTREXBANKR00000542
            73            Momenzadeh ToS Acceptance BITTREXBANKR00000621




11606-00001C/14567318.2
                   Case 23-10597-BLS   Doc 759    Filed 12/12/23    Page 7 of 7




 Date: December 12, 2023                         YOUNG CONAWAY STARGATT &
 Wilmington, DE                                  TAYLOR, LLP

                                                 /s/ Kenneth Enos
                                                 Kenneth Enos (Delaware Bar No. 4544)
                                                 Robert S. Brady (Delaware Bar No. 2847)
                                                 Rodney Square
                                                 1000 North King Street
                                                 Wilmington, Delaware 19801
                                                 Telephone: 302-571-6600
                                                 Facsimile: 302-571-1253
                                                 Email: kenos@ycst.com
                                                 Email: rbrady@ycst.com

                                                 -and-

                                                 QUINN EMANUEL URQUHART &
                                                 SULLIVAN, LLP
                                                 Susheel Kirpalani (admitted pro hac vice)
                                                 Patricia B. Tomasco (admitted pro hac vice)
                                                 Daniel Holzman (admitted pro hac vice)
                                                 Alain Jaquet (admitted pro hac vice)
                                                 Razmig Izakelian (admitted pro hac vice)
                                                 Joanna D. Caytas (admitted pro hac vice)
                                                 51 Madison Avenue, 22nd Floor
                                                 New York, New York 10010
                                                 Telephone: 212-849-7000
                                                 Facsimile: 212-849-7100
                                                 Email: susheelkirpalani@quinnemanuel.com
                                                 Email: pattytomasco@quinnemanuel.com
                                                 Email: danielholzman@quinnemanuel.com
                                                 Email: alainjaquet@quinnemanuel.com
                                                 Email: razmigizakelian@quinnemanuel.com
                                                 Email: joannacaytas@quinnemanuel.com

                                                 COUNSEL FOR THE PLAN
                                                 ADMINISTRATOR




11606-00001C/14567318.2
